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              IN THE UNITED STATES BANKRUPTCY COURT FOR
                      [DISTRICT] DISTRICT OF [STATE]
               SOUTHERN                       FLORIDA
                           [DIVISION] DIVISION
                  FORT LAUDERDALE

In re
                                                          In Chapter [Ch]
                                                                     13 Proceeding
[Debtor
RALPH1LName]
           SANDERS                                        Case No. [Case  Number]
                                                                   22-14766
[Debtor 2 Name]

                                         Debtors.


             REQUEST TO DISCONTINUE SERVICE OF NOTICES

          PLEASE TAKE NOTICE that [Client     Client
                                        Synchrony    Client] c/o PRA Receivables
                                                  Bank
   Management, LLC hereby withdraws its Request for Special Notice filed on
   [RFN  File Date] Docket Number [10].
   6/21/2022                      8



                           th
         Dated: This [Day]
                     7        day of [Month],
                                     July     [Year]
                                              2023




                                                    By:   /s/Valerie Smith
                                                          Valerie Smith
                                                          PRA Receivables Management, LLC
                                                          PO Box 41021
                                                          Norfolk, VA 23541
                                                          TEL: (877) 885-5919
                                                          FAX: (757) 351-3257
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                                    Certificate of Service
           I hereby certify that a copy of the foregoing was served electronically to the following
parties:


[Attorney
 NICHOLAS Name]
            G ROSSOLETTI
Attorney

[Trustee
ROBIN R  Name]
           WEINER
Chapter [Ch]
        13 Trustee


                              th
            Dated: This [Day]
                        7        day of [Month],
                                        July     [Year]
                                                 2023



                                                           By:     /s/Valerie Smith
                                                                  Valerie Smith
                                                                  PRA Receivables Management, LLC
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